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6    Manuel Keith
7                                 UNITED STATES DISTRICT COURT
8                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   United States of America,                       )   Case No.: Cr.S-11-190-MCE
                                                     )
11                   Plaintiff,                      )   STIPULATION AND ORDER TO
                                                     )   MODIFY PRE-TRIAL RELEASE
12          vs.                                      )   CONDITIONS AND ALLOW
                                                     )   DEFENDANT, MANUEL KEITH, TO
13   Manuel Keith,                                   )   TRAVEL ON A CONCERT TOUR
                                                     )
14                   Defendant                       )
                                                     )
15                                                   )
                                                     )
16                                                   )
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                                         FACTUAL SUMMARY
18
            Manuel Keith is asking permission to participate in a concert tour from approximately
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     January 19, 2014 through February 11, 2014. Mr. Keith is a musician. He was invited to
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     participate in a tour with the lead act being a rapper who goes by the stage name of “Nipsey
21
     Hussle.” If the Court wishes, the following is the Wikipedia site for Nipsey Hussle
22
     (http://en.wikipedia.org/wiki/Nipsey_Hussle). Attached hereto as Exhibit “A,” and incorporated
23
     herein by reference is a copy of the full tour. Mr. Keith is requesting to join the tour on January
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     19, 2014 in Cleveland, Ohio and travel with the tour bus, ending his performances in San
25
     Antonio, Texas on February 11, 2014. In order to travel to Ohio and return from San Antonio,



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1    Mr. Keith is requesting to be allowed to travel from New York City commencing on January 18,
2    2014 and return to New York City from San Antonio on February 14, 2014.
3            Prosecuting AUSA Jason Hitt is not opposed to Mr. Keith’s request to participate in these
4    concerts and travel with the tour.
5            On April 19, 2012, Manuel Keith, who lives in New York City, made his initial
6    appearance in U.S. District Court, Eastern District of New York, in the above-captioned action;
7    was released on an unsecured bond; and ordered to appear in the Eastern District of California on
8    May 11, 2012.
9            On May 11, 2012, Manuel Keith appeared before Magistrate-Judge Dale A. Drozd and
10   was released on the unsecured bond, previously posted, and Special Conditions of Release were
11   imposed.
12           Relevant “Special Conditions of Release,” were as follows:
13           “No. 3 You are to reside at a location approved by the pretrial services officer and not
14   move or absent yourself from this residence for more than 24 hours without the prior approval of
15   the pretrial services officer;
16           No. 5 Your travel is restricted to the Eastern District of California and New York City
17   without the prior consent of the pretrial services officer.
18           For the Court’s information, on August 13, 2013, at Docket entry 136, the Honorable
19   Dale A. Drozd, modified Mr. Keith’s above travel orders, at Mr. Keith’s request and stipulation
20   of AUSA Hitt, to allow him to travel outside the United States on two separate trips during the
21   fall of 2013. He completed these two pleasure trips and returned his passport with no problems
22   whatsoever.
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1                                           STIPULATION
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3           Plaintiff, United States, and Defendant, Manuel Keith, through their undersigned counsel,
4    hereby stipulate and agree that Special Conditions of Release detailed above, Numbers 3 and 5
5    shall be modified for the dates of January 18, 2014 through February 14, 2014, so that Mr. Keith
6    may participate in a tour as a musician commencing January 19, 2014 in Cleveland, Ohio and
7    end his performances in San Antonio, Texas on February 11, 2014 and shall return to New York
8    City on or before February 14, 2014.
9    IT IS SO STIPULATED.
10   DATED:        January 7, 2014                       BENJAMIN WAGNER
                                                         United States Attorney
11
                                                         /s/ Jason Hitt
12

13
                                                 by
                                                         Jason Hitt
14                                                       Assistant U.S. Attorney
                                                         by Jan David Karowsky
15                                                       w/ Mr. Hitt’s consent

16
     DATED:        January 7, 2014                       JAN DAVID KAROWSKY
17                                                       Attorney at Law
                                                         A Professional Corporation
18
                                                         /s/ Jan Karowsky
19

20                                               by
                                                         JAN DAVID KAROWSKY
21                                                       Attorney for Defendant
                                                         Manuel Keith
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1            GOOD CAUSE APPEARING, the Court hereby modifies Special Conditions of
2    Release numbers 3 and 5 as requested; approves Mr. Keith’s participation in the musical tour as
3    detailed; and approves his travel from New York City to Cleveland, Ohio commencing January
4    18, 2014 and return to New York City from San Antonio, Texas on or before February 14, 2014.
5            IT IS SO ORDERED.
6    Dated: January 7, 2014
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     Keith0190.stip.modify.COR2
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